                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

 LISA MORRIS, MICHAEL BUI, and
 TUMIKA WILLIAMS on behalf of
 themselves and all others similarly situated,

                       Plaintiffs,
                                                  CASE NO. 3:18-cv-157-RJC-DSC
 v.

 BANK OF AMERICA, N.A.,

                       Defendant.


                       MEMORANDUM AND RECOMMENDATION

       THIS MATTER is before the Court on “Defendant Bank of America, N.A.’s Motion to

Dismiss Plaintiffs’ Second Amended Complaint” (document #22) and the parties’ briefs and

exhibits.

       This matter has been referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. §

636(b)(1), and this Motion is now ripe for consideration.

       Having fully considered the arguments, the record, and the applicable authority, the

undersigned respectfully recommends that Defendant’s Motion to Dismiss be granted in part and

denied in part, as discussed below.


                   I. PROCEDURAL AND FACTUAL BACKGROUND

      Taking the facts of the Second Amended Complaint as true, Plaintiffs maintain checking

and/or savings accounts with Defendant through banking centers in Oklahoma, California, and

Georgia. Plaintiffs contend that Defendant improperly assessed fees on their accounts by (i)

charging multiple non-sufficient funds (“NSF”) fees and/or overdraft (“OD”) fees




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for the same transaction,1 (ii) charging NSF/OD fees on payments from one Defendant account to

another, (iii) prematurely deducting NSF/OD fees, and (iv) assessing monthly account service fees

(“MSAS”) on savings accounts that should have been waived. As a result, Plaintiffs allege that

Defendant breached various “contracts and reasonable consumer expectations.” The essence of

Plaintiffs’ allegations is that Defendant breached the express terms of the relevant contractual

provisions as well as its duty to exercise good faith in applying them when determining the number

of times it would submit items for payment, the timing of those submissions, and whether to charge

NSF/OD/MSAS fees. Plaintiffs allege that Defendant structured these submissions in a such a way

as to to maximize fees paid by them.

       On March 29, 2018, Plaintiffs filed this action on behalf of themselves and all others

similarly situated.       The Second Amended Complaint alleges claims for breach of contract,

breach of the covenant of good faith and fair dealing, conversion, unjust enrichment, and unfair

and deceptive trade practices in violation of North Carolina’s Unfair and Deceptive Trade

Practices Act (“UDTPA”) N.C. Gen. Stat. § 75.1.-1, Oklahoma’s Consumer Protection Act

(“OCPA”) Okla. Stat. tit. 15 § § 752(13), 753(20), California’s Unfair Competition Law

(“UCL”), California Business and Professions Code section 17200, et. seq., and Georgia’s

Consumer Protection Act (“OCGA”) O.C.G.A. Sections 10-1-390 et. seq.

       Defendant has moved to dismiss the Second Amended Complaint.




   NSF Fees are assessed when the bank rejects an attempted transaction as distinct from overdraft fees (“OD
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Fees”) which are assessed when the bank authorizes a transaction even though there are insufficient funds in the
account.



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                                        II. DISCUSSION

       A. Standard of Review

       In reviewing a Rule 12(b)(6) motion, “the court should accept as true all well-pleaded

allegations and should view the complaint in a light most favorable to the plaintiff.” Mylan Labs.,

Inc. v. Matkari, 7 F.3d 1130, 1134 (4th Cir. 1993). The plaintiff’s “[f]actual allegations must be

enough to raise a right to relief above the speculative level.” Bell Atlantic Corp. v. Twombly, 550

U.S. 544, 555 (2007). “[O]nce a claim has been stated adequately, it may be supported by showing

any set of facts consistent with the allegations in the complaint.” Id. at 563. A complaint attacked

by a Rule 12(b)(6) motion to dismiss will survive if it contains enough facts to “state a claim to

relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly,

550 U.S. at 570). “A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id.

       In Iqbal, the Supreme Court articulated a two-step process for determining whether a

complaint meets this plausibility standard. First, the court identifies allegations that, because they

are no more than conclusions, are not entitled to the assumption of truth. Id. “Threadbare recitals

of the elements of a cause of action, supported by mere conclusory statements, do not suffice.” Id.

(citing Twombly, 550 U.S. at 555) (allegation that government officials adopted challenged policy

“because of” its adverse effects on protected group was conclusory and not assumed to be true).

Although the pleading requirements stated in “Rule 8 [of the Federal Rules of Civil Procedure]

mark[] a notable and generous departure from the hyper-technical, code-pleading regime of a prior

era ... it does not unlock the doors of discovery for a plaintiff armed with nothing more than

conclusions.” Id. at 678-79.



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       Second, to the extent there are well-pleaded factual allegations, the court should assume

their truth and then determine whether they plausibly give rise to an entitlement to relief. Id. at

679. “Determining whether a complaint contains sufficient facts to state a plausible claim for relief

“will ... be a context-specific task that requires the reviewing court to draw on its judicial

experience and common sense.” Id.. “Where the well-pleaded facts do not permit the court to

infer more than the mere possibility of misconduct, the complaint has alleged-but it has not

‘show[n]’-‘that the pleader is entitled to relief,’” and therefore should be dismissed. Id. (quoting

Fed. R. Civ. P. 8(a)(2)).

       B. Breach of Contract

       Plaintiffs base their breach of contract claim on both express breach and breach of the

implied covenant of good faith and fair dealing. See, e.g., In re HSBC Bank, 1 F. Supp. 3d 34, 54

(E.D.N.Y. 2014) (allowing claim to proceed despite HSBC’s argument that it had contractual

authority to post debit transactions from high to low); Gutierrez v. Wells Fargo, 622 F. Supp. 2d

946, 954 (N.D. Cal. 2009) (allowing claim to proceed despite Wells Fargo’s argument that it had

contractual authority to post items to checking account in any order the bank chose); White v.

Wachovia Bank, N.A., 563 F. Supp. 2d 1358, 1363 (N.D. Ga. 2008) (declining to dismiss

plaintiff’s breach of the implied covenant of good faith and fair dealing at the motion to dismiss

stage when plaintiff alleged that Wachovia “breached the contract provisions [of its Deposit

Agreement] de facto even if it maintained performance de jure” in manipulating transactions to

maximize overdraft fees); Hunting Aircraft, Inc. v. Peachtree City Airport Auth., 281 Ga. App.

450, 453–54 (2006) (“[W]here the manner of performance is left more or less to the discretion of

one of the parties to the contract, he is bound to the exercise of good faith.”); Beshara v. Southern

Nat’l Bank, 928 P.2d 280, 288 (Okla. 1996) (common law of Oklahoma “implies in all contracts




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a mutual covenant that the parties will act towards each other in good faith)”; First Nat’l Bank &

Trust Co. of Vinita v. Kissee, 859 P.2d 502, 509 (Okla. 1993) (contract contains implied covenant

requiring parties not to injure the other parties’ reasonable expectations nor impair the rights or

interests of the other to receive the benefits of the contract).

        Applying these precedents to the facts alleged here, Plaintiffs have sufficiently alleged a

breach of contract claim under both theories. For those reasons, the undersigned respectfully

recommends that Defendant’s Motion to Dismiss Plaintiffs’ breach of contract claim be denied.

        C. Breach of Implied Covenant of Good Faith and Fair Dealing

        In their “Memorandum in Opposition …”, Plaintiffs state that allegations of breach of the

covenant of good faith and fair dealing are not pled as a separate tort claim but rather as incident

to their breach of contract claim. See Document #26 at 14-15.        For this reason and the other

reasons stated in Defendant’s briefs, the undersigned respectfully recommends that Defendant’s

Motion to Dismiss be granted as to any separate claim for breach of the implied covenant of good

faith and fair dealing.

        D. Conversion

        In order to prevail on their conversion claim, Plaintiffs must show that under applicable

state law Defendant unlawfully withheld a check (Oklahoma), took money through the use of

forged or unauthorized documents (California) or retained a specific identifiable fund (Georgia).

See, e.g., Childs v. Unified Life Ins. Co., 781 F.Supp.2d 1240, 1249 (N.D. Okla. 2011) (money is

intangible personal property and cannot be converted); McKell v. Washington Mut., Inc., 142 Cal.

App. 4th 1457, 1492, 49 Cal. Rptr. 3d 227 (2006) (overcharge cannot give rise to conversion

claim); Taylor v. Powertel, Inc., 250 Ga.App. 356, 359, 551 S.E.2d 765 (2001) (“there can be no

conversion action for money damages for money,” unless it compromises “a specific, separate,




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identifiable fund”). But see Fong v. E. W. Bank, 227 Cal. Rptr. 3d 838, 844 (Ct. App. 2018)

(Plaintiff alleged conversion of deposited funds as a result of forged documents authorizing the

transfers); Steenbergen v. First Fed. Sav. & Loan, 753 P.2d 1330, 1332 (Okla. 1987) (withheld

check is exception to general rule in Oklahoma that only tangible personal property may be

converted).

        Plaintiffs have not sufficiently pled a cause of action under the applicable state laws.

Accordingly, the undersigned respectfully recommends that Defendant’s Motion to Dismiss be

granted as to Plaintiffs’ conversion claim.

       E. Unjust Enrichment

       Plaintiffs argue that they have pled their unjust enrichment claim in the alternative to their

contract claim. But the record is clear that this dispute is governed by one if not several valid

contracts between the parties. Sisemore v. Dolgencorp, LLC, 212 F.Supp.3d 1106, 1112 (N.D.

Okla. 2016) (holding that a claim for unjust enrichment is not viable when an enforceable contract

governs the parties’ relationship); Lance Camper Mfg. Corp. v. Republic Indem. Co., 44 Cal. App.

4th 194, 203, 51 Cal. Rptr. 2d 622 (1996) (same); Bogard v. Inter–State Assurance Co., 263 Ga.

App. 767, 589 S.E.2d 317, 319 (2003) (“the existence of the contract between the parties precludes

[plaintiff]’s unjust enrichment claim”); Accordingly, the undersigned respectfully recommends

that Defendant’s Motion to Dismiss be granted as to Plaintiffs’ unjust enrichment claim.

       F. Unfair and Deceptive Trade Practices Claims

       The parties dispute which state’s consumer protection law applies here. A choice of law

inquiry may be very fact intensive and more appropriately undertaken after the record is

sufficiently developed. Terry v. Swift Transportation, No. 1:16cv256, 2017 WL 1013074, at *7

(M.D.N.C. March 14, 2017) (citing Graboff v. The Collern Firm, Civ. Action No. 10–1710, 2010




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WL 4456923, at *8 (E.D. Pa. Nov. 8, 2010) (explaining that, “[d]ue to the complexity of this

analysis, when confronted with a choice of law issue at the motion to dismiss stage, courts … have

concluded that it is more appropriate to address the issue at a later stage in the proceedings,” and

that, “[h]ere, a choice of law analysis is premature because the record lacks necessary facts for the

[c]ourt to conduct the fact-intensive, context-specific analysis required”). See also Beritelli v.

Wells Fargo Bank, N.A., No. 1:11-CV-000179-MR, 2013 WL 5460179, at *13 (W.D.N.C. Sept.

30, 2013) (“[T]he Court cannot make a determination of the choice of law issue at this time…The

parties may revisit the choice of law issue at the summary judgment stage, at which time the Court

will be in a better position to determine which state law is applicable.”); Clean Earth of Md., Inc.

v. Total Safety, Inc., No. 2:10–cv–119, 2011 WL 1627995, at *4 (N.D. W. Va. Apr. 28, 2011)

(“Importantly, a court is typically in a better position to decide a choice of law issue after the

parties have developed the factual evidence through the process of discovery.” (collecting cases)).

Since Plaintiffs pled their unfair and deceptive trade practices claims under both North Carolina

law and the law of their states of residence, the Court finds that it is premature to determine choice

of law at this stage of the proceedings.

      The elements of a claim for UDTP in North Carolina are “(1) [the] defendant committed

an unfair or deceptive act or practice, (2) the action in question was in or affecting commerce,

and (3) the act proximately caused injury to the plaintiff.” Bumpers v. Cmty. Bank of N. Va., 747

S.E.2d 220, 226 (N.C. 2013) (alteration in original). “A practice is unfair when it offends

established public policy as well as when the practice is immoral, unethical, oppressive,

unscrupulous, or substantially injurious to consumers.” Walker v. Fleetwood Homes of N.C.,

Inc., 362 N.C. 63, 72, 653 S.E.2d 393, 399 (2007) (internal quotation marks omitted). “[A]

practice is deceptive if it has the capacity or tendency to deceive.” Id. (alteration in original)




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(internal quotation marks omitted). The elements of unfair and deceptive trade practices claims

under California, Georgia and Oklahoma law are similar. See Okla. Stat. tit. 15 § § 752(13),

753(20), California Business and Professions Code section 17200, et. seq., and O.C.G.A.

Sections 10-1-390 et. seq.

       Defendant’s arguments as to Plaintiffs’ unfair and deceptive trade practices claims are

more appropriately considered at summary judgment and following completion of discovery.

Plaintiffs have alleged facts that would permit, but not require, a reasonable jury to conclude that

Defendant did not act in good faith in performing its contractual duties. Consequently, the

undersigned respectfully recommends that Defendant’s Motion to Dismiss Plaintiffs’ claims

under the North Carolina Unfair and Deceptive Trade Practices Act, Oklahoma Consumer

Protection Act, California Unfair Competition Law, and Georgia Consumer Protection Act be

denied.


                                     III. RECOMMENDATION

          FOR THE FOREGOING REASONS, the undersigned respectfully recommends that

“Defendant Bank of America, N.A.’s Motion to Dismiss Plaintiffs’ Second Amended Complaint”

(document #22) be GRANTED IN PART and DENIED IN PART, specifically, GRANTED as

to Plaintiffs’ claims for conversion, unjust enrichment, and breach of implied covenant of good

faith and fair dealing, and that those claims be DISMISSED WITH PREJUDICE, and DENIED

in all other respects..

                                IV. NOTICE OF APPEAL RIGHTS

          The parties are hereby advised that, pursuant to 28 U.S.C. §636(b)(1)(c), written objections

to the proposed findings of fact and conclusions of law and the recommendation contained in this

Memorandum must be filed within fourteen days after service of same. Failure to file objections


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to this Memorandum with the District Court constitutes a waiver of the right to de novo review by

the District Judge. Diamond v. Colonial Life, 416 F.3d 310, 315-16 (4th Cir. 2005); Wells v.

Shriners Hosp., 109 F.3d 198, 201 (4th Cir. 1997); Snyder v. Ridenour, 889 F.2d 1363, 1365 (4th

Cir. 1989). Moreover, failure to file timely objections will also preclude the parties from raising

such objections on appeal. Thomas v. Arn, 474 U.S. 140, 147 (1985); Diamond, 416 F.3d at 316;

Page v. Lee, 337 F.3d 411, 416 n.3 (4th Cir. 2003); Wells, 109 F.3d at 201; Wright v. Collins, 766

F.2d 841, 845-46 (4th Cir. 1985); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984).

       The Clerk is directed to send copies of this Memorandum and Recommendation to counsel

for the parties and to the Honorable Robert J. Conrad, Jr.

       SO RECOMMENDED AND ORDERED.
                                                  Signed: January 7, 2019




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